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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               SOUTHERN DIVISION

 HOPE ELLY,                                        )
 Plaintiff,                                        )
                                                   )                 CIVIL ACTION NO.
 v.                                                )                 1:19-cv-318-LG-JCG
                                                   )
 MAVAR PROPERTIES LLC,                             )
 TBT BILOXI, LLC and THE                           )
 BLIND TIGER OF MS, LLC,                           )
 Defendants.                                       )

                           JOINT STIPULATION OF DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(ii) Fed. R. Civ. P., the parties hereby give notice to the Court

that they have resolved this matter. The parties therefore stipulate that this case is dismissed with

prejudice and each party will bear its own costs and fees.

       Respectfully Submitted, this 20th day of April 2020.



      THE ADA GROUP, LLC                          BRUNINI, GRANTHAM, GROWER
                                                  & HEWES, PLLC

      /s/ Pshon Barrett                           /s/ Taylor B. McNeel
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      Attorney for Plaintiff
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on April 20, 2020, I electronically filed the foregoing with the

Clerk of the Court by the CM/ECF system which will send a notice of electronic filing to all parties

of record.


                                    THE ADA GROUP, LLC

                                 /s/ Pshon Barrett
                                 Pshon Barrett, Esq.
                                 Attorney for Plaintiff
